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 5
     Attorney for Defendant,
 6   GENARO SANTACRUZ

 7
                               IN THE UNITED STATES DISTRICT COURT
 8                           FOR THE EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,                         CASE NO. 2:13-CR-00286-LKK-3

11              Plaintiff,                             STIPULATION AND ORDER

12        vs.                                          DATE: June 17, 2014
                                                       TIME: 9:15 AM
13   GENARO SANTACRUZ,                                 JUDGE: Hon. Lawrence K. Karlton

14              Defendant.

15

16          It is hereby stipulated and agreed to between the United States of America through Todd

17   Pickles, Assistant U.S. Attorney, and defendant Genaro Santacruz, by and through his attorney,

18   Dan Koukol, that the status conference of June 17, 2014 be vacated and that a status conference

19   be set for July 29, 2014 at 9:15 AM.

20          This continuance is being requested because counsel is currently discussing a revised plea

21   agreement with the client.

22          //

23          //

24          //

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 1          Counsel agree that the time between the signing of the requested order and July 29, 2014

 2   will be excluded from the speedy trial calculation pursuant to 18 U.S.C. §3161(h)(7)(A) and (B)

 3   (Local Code T4) in that the defendants’ and the public’s interest in a speedy trial are outweighed

 4   by the interests of justice in permitting counsel adequate time to prepare.

 5
     DATED: JUNE 13, 2014                  Respectfully submitted,
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 7                                         /s/ DAN KOUKOL
                                           _________________________________
 8                                         DAN KOUKOL
                                           Attorney for defendant Genaro Santacruz
 9

10
     DATED: JUNE 13, 2014                  Respectfully submitted,
11

12                                         /s/ DAN KOUKOL FOR TODD PICKLES
                                           _________________________________
13                                         TODD PICKLES
                                           Assistant U.S. Attorney
14
     IT IS SO ORDERED, that the status conference in the above-entitled matter, scheduled for June
15   17, 2014, be vacated and the matter continued to July 29, 2014 at 9:15 AM for further status
     conference. The Court finds that time under the Speedy Trial Act shall be excluded through that
16   date in order to afford counsel reasonable time to prepare. Based on the parties’ representations,
     the Court finds that the ends of justice served by granting a continuance outweigh the best
17   interests of the public and the defendants to a speedy trial.

18   DATED: June 17, 2014

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